                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )    No. 20 CR 750
                    v.                      )
                                            )    Judge Guzman
 MAJA NIKOLIC, et al.                       )

                   ORDER FOR PRE-SENTENCE PAYMENTS

      Upon the motion of the United States, it is hereby

      ORDERED that, pursuant to 28 U.S.C. § 2041, the Clerk of the Court shall

accept payment of the criminal financial obligations from any defendant or his or her

designated representative and maintain such payment on deposit in the court's

registry until the time of sentencing in this case; and it is further

      ORDERED that pursuant to 28 U.S.C. § 2042, upon entry of a criminal

judgment in this case, the Clerk of the Court shall withdraw and apply the deposited

funds, together with any interest that has accrued, and after deduction for any

required registry fees, to the criminal monetary penalties imposed against the

defendant, including any special assessment, restitution, fine, and court costs.

                           E N T E R:



                                         United States District Judge
Date: 1/17/2023
